          Case 1:20-cv-02658-CJN Document 15 Filed 09/23/20 Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


TIKTOK INC., et al.,

                        Plaintiffs,

        v.                                              Case No. 20-cv-02658 (CJN)

DONALD J. TRUMP, in his official capacity               Oral Argument Requested
as President of the United States, et al.,

                        Defendants.



PLAINTIFFS’ APPLICATION FOR A PRELIMINARY INJUNCTION AND REQUEST
               FOR EXPEDITED BRIEFING AND A HEARING

       Plaintiffs TikTok, Inc. and ByteDance Ltd. (collectively “Plaintiffs”), by and through

their undersigned counsel, hereby move this Court, pursuant to Rule 65 of the Federal Rules of

Civil Procedure and Local Rule 65.1, for a preliminary injunction against Defendants Donald J.

Trump, in his official capacity as President of the United States; Wilbur L. Ross, Jr., in his

official capacity as Secretary of Commerce; and the U.S. Department of Commerce.

       For the reasons set forth in the accompanying Memorandum in Support and the

declarations and exhibits attached hereto, Plaintiffs are entitled to preliminary injunctive relief

enjoining the implementation or enforcement of the executive order issued on August 6, 2020, 85

Fed. Reg. 48,637 (“August 6 order”), as well as the list of prohibited transactions, which the

Department of Commerce issued on September 18, 2020, subsequently withdrew, and re-issued

on September 22, 2020, and which will be published in the Federal Register on September 24,

2020, U.S. Dep’t of Commerce, Identification of Prohibited Transactions to Implement

Executive Order 13942 and Address the Threat Posed by TikTok and the National Emergency

with Respect to the Information and Communications Technology and Services Supply Chain
          Case 1:20-cv-02658-CJN Document 15 Filed 09/23/20 Page 2 of 5




(Sept. 22, 2020), https://www.federalregister.gov/documents/2020/09/24/2020-

21193/identification-of-prohibited-transactions-to-implement-executive-order-13942-and-

address-the-threat (“Prohibitions”). The August 6 order and the Prohibitions violate the

International Emergency Economics Powers Act, 50 U.S.C. §§ 1701–1706, the Administrative

Procedure Act, 5 U.S.C. § 551 et seq., the First and Fifth Amendments to the U.S. Constitution,

and constitute ultra vires executive action. In the absence of preliminary injunctive relief, the

August 6 order and the Prohibitions will cause Plaintiffs irreparable harm, and the equities and

public interest weigh in Plaintiffs’ favor. Accordingly, Plaintiffs are entitled to relief. A

proposed Order also accompanies the motion.

        Pursuant to Local Rule 65.1(d), the Plaintiffs respectfully request expedited briefing and

a hearing on this motion. The Prohibitions issued on September 22, 2020 are scheduled to take

effect at 11:59 pm on September 27, 2020. As explained in the accompanying Memorandum in

Support, as a consequence of the Prohibitions, TikTok will no longer be available on the U.S.

app stores as of 11:59 pm on September 27, 2020, which will inflict direct, immediate, and

irreparable harm on Plaintiffs during the pendency of this case.

        For these reasons, Plaintiffs request an expedited briefing schedule and hearing in this

matter. Plaintiffs respectfully request that the Court enter the following schedule:

       Defendants to file a response, if any, to Plaintiffs’ Motion for Preliminary Injunction no

        later than 2:30 pm on September 25, 2020;

       Plaintiffs to file a reply, if any, no later than 2:30 pm on September 26, 2020;

       The Court to hold a hearing via teleconference or video conference as soon thereafter as

        possible and provide a ruling before 11:59 pm on September 27, 2020.
          Case 1:20-cv-02658-CJN Document 15 Filed 09/23/20 Page 3 of 5




       Pursuant to Local Rule 7(m), counsel for Plaintiffs consulted with counsel for Defendants

on September 23, 2020 at approximately 1:30 pm and sought Defendants’ consent for expedited

treatment of the motion in advance of filing the request. Plaintiffs have not yet received

Defendants’ response.

DATED: September 23, 2020                    Respectfully submitted,

                                               /s/ John E. Hall               .

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                                              Attorneys for Plaintiffs
         Case 1:20-cv-02658-CJN Document 15 Filed 09/23/20 Page 4 of 5




                                CERTIFICATE OF SERVICE

       I, John E. Hall, hereby certify that on the 23rd day of September, 2020, a true and correct

copy of the foregoing was filed on the Court’s CM/ECF filing system, and was served via FedEx

Priority Overnight delivery to the following:

Donald J. Trump
President of the United States
1600 Pennsylvania Avenue, N.W.
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Wilber L. Ross, Jr.
Secretary of Commerce
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Washington, D.C. 20230

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       And via email to the following:

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[Attorney signature on following page]
Case 1:20-cv-02658-CJN Document 15 Filed 09/23/20 Page 5 of 5




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